943 F.2d 49
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Theodore Morris FOUST, Plaintiff-Appellant,v.James G. MARTIN, Governor, Aaron J. Johnson, Joseph L.Hamilton, Nathan A. Rice, Michael E. Bumgarner,Roy Captain Harvell, Alex LieutenantMcCaskill, Paula Baltease,Defendants-Appellees.
    No. 91-7583.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1991.Decided Sept. 9, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.   Norwood Carlton Tilley, Jr., District Judge.  (CA-90-595-3)
      Theodore Morris Foust, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, N.C., for appellees.
      M.D.N.C.
      DISMISSED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Theodore Morris Foust appeals the district court's order affirming the magistrate judge's order denying Foust's motion to produce documents and denying Foust's request to file an interlocutory appeal.   We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. § 1291 this Court has jurisdiction over appeals from final orders.   A final order is one which disposes of all issues in dispute as to all parties.   It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. § 1291.   The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. § 1292.   Finally, the order is not appealable as a collateral order under  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    